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                        UNITED STATES DISTRICT COURT FOR THE
7                         WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
8
9
       UNITED STATES OF AMERICA,                         NO. MJ20-425
10
                            Plaintiff,
11                                                       COMPLAINT FOR VIOLATIONS
12                                                       18 U.S.C. § 844(f)
                       v.                                18 U.S.C. § 844(i)
13
       ISAIAH THOMAS WILLOUGHBY,
14
15                          Defendant.
16
17
     BEFORE, Brian A. Tsuchida, United States Magistrate Judge, Seattle, Washington.
18
            The undersigned complainant being duly sworn states:
19
                                             COUNT 1
20
                                              (Arson)
21
            On or about June 12, 2020, at Seattle, in the Western District of Washington,
22
     ISAIAH THOMAS WILLOUGHBY did maliciously damage and destroy, and attempt to
23
     damage and destroy, by means of fire, a building, namely, the Seattle Police Department
24
     East Precinct, located at 1519 12th Avenue, Seattle, that was used by the Seattle Police
25
     Department in interstate and foreign commerce and in an activity affecting interstate and
26
     foreign commerce, and that was in whole or in part owned and possessed by the Seattle
27
     Police Department, an institution and organization receiving Federal financial assistance.
28
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 1         All in violation of Title 18, United States Code, Sections 844(f)(1) and 844(i).
 2         This complaint is to be presented by reliable electronic means pursuant to Federal
 3 Rules of Criminal Procedure 4.1 and 41(d)(3).
 4         The undersigned complainant, Lexie Widmer, being duly sworn, further deposes
 5 and states as follows:
 6                                      INTRODUCTION
 7         I, Lexie Widmer, am a special agent (SA) duly sworn and employed by the U.S.
 8 Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF). I
 9 am currently assigned to the Seattle V ATF Field Office, located within the Seattle,
10 Washington, Field Division. I have been employed as a special agent since July 2017.
11         I am a graduate of Western Oregon University in Monmouth, Oregon, where I
12 received a Bachelor of Science in Computer Science and a Bachelor of Science in
13 Criminal Justice. I completed a twelve-week Criminal Investigator Training Program
14 (CITP) and a fifteen-week Special Agent Basic Training (SABT) at the ATF National
15 Academy/Federal Law Enforcement Training Center (FLETC) in Glynco, Georgia.
16         I am responsible for investigations involving specified unlawful activities, to
17 include violent crimes involving firearms that occur in the Western District of
18 Washington. I am also responsible for enforcing federal firearms, arson, and explosives
19 laws and related statutes in the Western District of Washington. I received training on
20 the proper investigative techniques for these violations, including the identification of
21 firearms and location of the firearms’ manufacture. I have actively participated in
22 investigations of criminal activity, including but not limited to: crimes against property,
23 narcotics-related crimes, and crimes involving the possession, use, theft, or transfer of
24 firearms. During these investigations, I have also participated in the execution of search
25 warrants and the seizure of evidence indicating the commission of criminal violations.
26         The facts set forth in this Affidavit are based on my own personal knowledge;
27 information obtained from other individuals during my participation in this investigation,
28 including other law enforcement officers; review of documents and records related to this
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 1 investigation; communications with others who have personal knowledge of the events
 2 and circumstances described herein; and information gained through my training and
 3 experience. Because this Affidavit is submitted for the limited purpose of establishing
 4 probable cause in support of a criminal complaint, it does not set forth each and every
 5 fact that I, or others, have learned during the course of this investigation.
 6                                   SUMMARY OF PROBABLE CAUSE
 7       A. The Seattle Police Department and the East Precinct Building.
 8            The Seattle Police Department (“SPD”) is involved in interstate and foreign
 9 commerce and in activities affecting interstate and foreign commerce. 1 The Seattle
10 Police Department also is an institution and organization that receives Federal financial
11 assistance. I have received information from SPD’s Chief Administration Officer, who
12 oversees the SPD Grants and Contracts Unit, regarding the numerous federally funded
13 grants SPD is currently receiving. In summary, SPD is presently receiving funding from
14 a variety of federal agencies, including the Department of Justice, the Department of
15 Homeland Security, and the Federal Emergency Management Agency (FEMA).
16 Collectively, these grants total millions of dollars of federal funding provided to SPD in
17 support of a variety of SPD’s core duties and missions, including, but not limited to:
18               • Enhancing the safety of the community in the event of terrorist threats,
19                 active shooter threats, natural disasters, and the gathering of information
                   helpful to law enforcement and the community regarding these sorts of
20                 serious threats;
21
22
     1
       See United States v. Odom, 252 F.3d 1289, 1294 (11th Cir. 2001) (“The legislative history of § 844(i) reveals that
23   the statute was crafted specifically to include some non-business property such as police stations and churches.”)
     (citing Russell v. United States, 471 U.S. 858, 860 (1985)); United States v. Laton, 352 F.3d 286, 300 (6th Cir. 2003)
24   (“When it crafted § 844(i) to encompass the arson of police stations, Congress recognized that the provision of
     emergency services by municipalities can affect interstate commerce in the active sense of the phrase.”) (citing
25   Jones v. United States, 529 U.S. 848, 853 n.5 (2000); Russell, 471 U.S. at 860–61); Belflower v. United States, 129
     F.3d 1459, 1462 (11th Cir.1997) (holding that § 844(i) covered the bombing of a police vehicle which a local
26   sheriff's deputy used in his law enforcement responsibilities and that destruction of a police car had “a significant
     impact on interstate commerce” because the deputy patrolled traffic and made arrests on an interstate highway,
27   issued citations to out-of-state drivers, participated in interstate narcotic investigations, assisted out-of-state
     authorities in apprehending suspects, recovered stolen property from other states, and attended law enforcement
28   training sessions in other states).
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 1            • Providing crime prevention strategies and essential services to elderly, non-
 2              English speaking residents, refugees, deaf, blind and developmentally
                disabled residents of Seattle and working with communities to decrease
 3              crime by developing, implementing and coordinating crime prevention
 4              programs;

 5            • Bolstering security measures related to the protection of the Port of Seattle;
 6
              • Funding the investigations of offenses involving acts of terrorism, chemical,
 7              radiological, or biological attacks, crimes against children, and human
 8              trafficking; and

 9            • COVID Emergency Stimulus Funding used to pay for things such as
10              personal protective equipment for officers; funding to backfill for officers
                testing positive for COVID or in quarantine; and the cost of providing
11              protection for lives and property in the event of protests against statewide
12              shelter-in-place orders or re-opening guidelines.
13         The East Precinct building is one of the SPD’s primary bases of operation in the
14 City of Seattle. Among other things, the East Precinct provides 24/7 proactive patrol and
15 911 emergency response to East Seattle, and other services including bike patrol, Anti-
16 Crime Teams, Burglary/Theft investigation, Community Police Teams and Crime
17 Prevention.
18      B. The Arson at the SPD East Precinct.
19         On June 12, 2020, at about 3:00 a.m., a subject, later identified as Isaiah Thomas
20 Willoughby, started a fire on the exterior of the SPD East Precinct, located at 1519 12th
21 Avenue, Seattle. A video camera located across the street captured the following
22 sequence of events:
23          • The suspect enters the camera view walking northbound on the west
24               sidewalk of 12th Avenue in front of an entrance to the East Precinct. He is
                 carrying a red container that looks like the type of container typically used
25               for the storage and transportation of small amounts of gasoline.
26
              • The suspect spreads liquid from the red container onto piled debris lying
27
                along the fence next to and against the East Precinct. The debris consists of
28              combustible materials, including wood and paper.
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 1
 2            • The suspect empties the liquid contents of the red container on the debris
                and then sets the container down near the debris pile.
 3
 4            • The suspect puts a white object down on the sidewalk and then seems to be
                searching for something in his pockets for a while. The suspect then stops
 5              checking his pockets, picks up the same white object, and walks away
 6              southbound, weaving down the sidewalk.

 7            • The suspect walks out of the camera’s view.
 8
              • Approximately 23 seconds later, the suspect reenters the camera’s view
 9              walking northbound on the same sidewalk of 12th Avenue. The suspect
10              stops in front of the debris pile upon which he previously spread the fluid
                from the red container.
11
12            • The suspect lights something in his hand. The suspect then throws the lit
                item on the ground and it quickly starts a fire that spreads rapidly through
13              the immediate area. This sequence of events is consistent with throwing a
14              match on a flammable liquid.
15            • The suspect walks away from the fire as soon as it ignites. At no time did
16              the suspect attempt to put out the fire he started. The suspect crosses
                12th Avenue eastbound and walks out of camera view.
17
18            • Numerous bystanders rush to the scene of the fire and extinguish it by
                scattering the burning debris and using handheld fire extinguishers.
19
20         Due to the “CHOP” protest surrounding the East Precinct at the time of the arson,
21 SPD officers were unable to respond to the crime scene. On June 20, 2020, SPD
22 Detective Kawahara, who is assigned to the SPD Arson and Bomb Squad, went into the
23 “CHOP” wearing plain clothes in order to take photographs of the area where the fire was
24 started. The fire scene area behind the chain link fence remained unaltered since the time
25 of the fire; there was no access to the area from the outside and nobody had exited into
26 that area from inside the East Precinct. Detective Kawahara could clearly see markings
27 and outlines on the ground that were consistent with a flammable liquid after it had been
28 burned. He also observed and photographed scorch marks on a piece of plywood at the
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 1 base of a window that had been put up to protect the glass of the East Precinct building,
 2 as well as scorch marks on the frame of the East Precinct door immediately to the right of
 3 the scorched plywood.
 4      C. The Identification of Willoughby as the Arsonist.
 5         Shortly after the arson at the East Precinct, a witness posted on Twitter
 6 photographs she took of the suspect who started the fire:
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22         In the photographs, the arson suspect is wearing a yellow hooded sweatshirt that
23 has a unique, stylized pattern on the back.
24         On June 13, 2020, Detective Kawahara created a Criminal Informational Bulletin
25 using images from the Twitter photographs. The bulletin was disseminated throughout
26 SPD asking officers to identify the suspect. SPD also released the photographs to the
27 media, encouraging members of the public to call Crime Stoppers or law enforcement
28 with any information about the suspect.
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 1            On June 15, 2020, an anonymous caller contacted Crime Stoppers and reported
 2 that Isaiah Willoughby was the arsonist. The caller claimed to have known Willoughby
 3 for several years and to be a follower of Willoughby’s Facebook page. The caller said
 4 Willoughby had initially posted on Facebook that he had burned the East Precinct, but
 5 subsequently took the post down after the recent media coverage of the incident. The
 6 caller further stated that the unique design on the arsonist’s sweatshirt was associated
 7 with a clothing line that Willoughby represents.
 8            On June 15, 2020, a second anonymous caller contacted the SPD Homicide tip
 9 line and reported that Willoughby was the arson suspect.
10            On June 18, 2020, at 9:10 a.m., Detective Kawahara was at his office and
11 answered an incoming phone call to the SPD Arson and Bomb Squad office. The female
12 caller, later identified as Willoughby’s aunt, asked to speak to the investigator assigned to
13 the East Precinct arson investigation. Detective Kawahara stated that he was the
14 investigator. Willoughby’s aunt immediately replied: “The person who started the fire is
15 my nephew. Come and get him.”
16            Later that day, Detective Kawahara conducted a recorded interview with
17 Willoughby’s aunt and uncle. 2 They explained that Willoughby lives with them in
18 Tacoma, Washington, and that he had been in Seattle to participate in the protests from
19 June 11-12, 2020, returning home on the morning of June 13, 2020. On June 13, the aunt
20 and uncle observed Willoughby’s brother meeting with Willoughby at the house; they
21 later learned that the brother had been helping Willoughby delete posts from his social
22 media accounts on Facebook and Instagram. Thereafter, on June 13, Willoughby’s father
23 told the aunt that Willoughby had “set the Seattle East Precinct on fire.”
24            After learning this, both the aunt and uncle confronted Willoughby separately
25 about the arson. According to both the aunt and uncle, Willoughby acknowledged to
26
27
     2
       At the conclusion of the interview, the aunt and uncle both swore under the penalty of perjury that the information
28   they had provided was true and correct to the best of their knowledge.
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 1 each of them that he had set the fire. The aunt specifically asked Willoughby why he set
 2 the fire, and Willoughby replied that it was because he was angry about the way he had
 3 been treated by officers at the East Precinct during a prior arrest. Willoughby also stated
 4 that he had a “lawsuit” about his mistreatment by SPD East Precinct officers.
 5         Det. Kawahara asked the aunt and uncle whether they saw the photographs of the
 6 arsonist that were released to the public, and they both confirmed they had seen the
 7 images. The aunt stated that she has seen Willoughby wearing the same yellow hooded
 8 sweatshirt. Both the aunt and uncle stated that the unique design on the back of the
 9 arsonist’s yellow hooded sweatshirt was associated with the clothing brand Sneaker
10 Warz. They further stated that Willoughby is a representative of the Sneaker Warz
11 clothing line and that he wears Sneaker Warz clothing most of the time.
12         The aunt and uncle further explained that they run a transitional house located in
13 Tacoma, and that Willoughby resided in Room 9 of the house. On June 14, 2020, the
14 aunt and uncle told Willoughby that he needed vacate the house, so as not to bring
15 trouble with law enforcement to the house. Willoughby ignored their directives. On
16 June 17, 2020, the aunt and uncle told Willoughby that if he did not leave the house, they
17 were going to call the police. Willoughby replied: “Do what you have to do.”
18 Willoughby also told the aunt and uncle that he was planning to travel to Las Vegas for a
19 month or so.
20         On June 18, 2020, SPD officers and ATF agents executed a state search warrant at
21 Willoughby’s residence in Tacoma. During the search of Willoughby’s bedroom, SPD
22 detectives located Willoughby’s laptop computer, a rental agreement signed by
23 Willoughby related to the search location, and a blue/gray Sneaker Warz hooded
24 sweatshirt.
25         SPD officers arrested Willoughby at the time of the search. During a search of
26 Willoughby’s person, SPD officers located Willoughby’s smartphone and smartwatch.
27 Willoughby was wearing several items of Sneaker Warz brand clothing, including a red
28 undershirt with “Art Is Life” in a graffiti style lettering, a hat, jacket, and button-down
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 1 shirt. The officers recognized the distinctive lettering style and brand from the Criminal
 2 Information Bulletin disseminated within SPD in an effort to identify the arson suspect.
 3         In conducting online open source research after Willougby’s arrest, investigators
 4 located a Facebook page in the name of “Z-zae Willoughby.” Based on the publically
 5 viewable postings on this Facebook page, I believe that Willoughby is the user of this
 6 Facebook page. For example, the “Z-zae Willoughby” Facebook page has multiple
 7 images of Willoughby and extensive photos and posts about the Sneaker Warz clothing
 8 brand. Moreover, Willoughby’s aunt confirmed during the interview on June 18, 2020,
 9 that the “Z-zae Willoughby” Facebook page was Willoughby’s Facebook page.
10         At the top of the “Z-zae Willoughby” Facebook page is a section entitled, “About
11 Z-zae Willoughby,” which includes following information:
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13
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19
           The blue text reading “Z-zae Entertainment” is a link to a second Facebook page
20
     associated with Willoughby. This “Z-zae Entertainment” page contains a post made on
21
     June 9, 2020 (approximately two days prior to the arson), which reads:
22
           This why Iam [sic] on the front lines of this Regime change in America if
23         you support my parties then we need you on this Iam burn it down.
24         (emphasis added).

25         Immediately under this message is a video of a black male’s hands holding and
26 leafing through paperwork, including identifiable SPD reports and King County Superior
27 Court documents relating to a June 2018 arrest and prosecution of Willoughby for
28 Robbery charges. During the video, which plays for two minutes and 52 seconds, the
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